Case 8:13-cv-01592-AEP Document 560 Filed 07/15/24 Page 1 of 5 PageID 17064




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 CIN-Q AUTOMOBILES, INC. and       )
 MEDICAL & CHIROPRACTIC CLINIC,    )
 INC., individually and on behalf of a class,
                                   )
                                   )
         Plaintiffs,               ) No.: 8:13-CV-01592-AEP
                                   )
                v.                 )
                                   )
 BUCCANEERS LIMITED PARTNERSHIP,   )
                                   )
         Defendant.                )
 ____________________________      )
                                   )
 TECHNOLOGY TRAINING ASSOCS., INC. )
 et al.,                           )
                                   )
          Intervenors.             )

                     JOINT STATUS REPORT AND
               REQUEST TO REFER MATTER TO MEDIATION

      Plaintiffs, Cin-Q Automobiles, Inc. and Medical & Chiropractic Clinic, Inc.,

(“Plaintiffs”) and Defendant, Buccaneers Team LLC, formerly Buccaneers Limited

Partnership (“BTL” or “Defendant”) (collectively, the “Settling Parties”), and

Intervenors, Technology Training Assocs., Inc., et al. (“Intervenors”), report as

follows on the status of this matter and jointly request that the Court refer this matter

to Magistrate Judge Sansone—who oversaw the mediation that led to the current

Class Action Settlement under consideration by the Court—for further discussion of

outstanding issues. In support, the Settling Parties and Intervenors state as follows:
Case 8:13-cv-01592-AEP Document 560 Filed 07/15/24 Page 2 of 5 PageID 17065




       1.     Currently pending before the Court are numerous filings pertaining to

the Class Action Settlement preliminarily approved by the Court (see Order, Doc.

343), including: (1) Plaintiffs’ Motion for Final Approval of Class Action Settlement

(Doc. 482); (2) BTL’s Motion to Dismiss Class Claims for Lack of Article III

Standing and to Decertify the Settlement Class (Doc. 492); (3) BTL’s Response to

Plaintiffs’ Motion for Final Approval (Doc. 496); and (4) Intervenors/Objectors’

Opposition to Plaintiffs’ Motion for Final Approval (Doc. 497).

       2.     On June 17, 2024, the Court held an in-person hearing on BTL’s

Motion to Dismiss and Decertify, at the conclusion of which the Settling Parties

asked the Court to delay ruling for 28 days while they explored whether there is a

“path to resolution” of outstanding issues, at which time they would file a “joint

status report.” (Hr’g Tr., June 17, 2024 at 47:22–23 (statement of Mr. Varner)).

       3.     The Court agreed to hold off any ruling until July 15, 2024, with the

Settling Parties to file at that time “a notice as to whether one -- if you’re asking for

the Court to conduct a further -- follow-up status to whatever discussions you may

have; or 2, if you need more time, I’ll certainly consider that as well.” (Hr’g Tr., June

17, 2024 at 51:11–14 (statement of the Court)).

       4.     The Settling Parties have subsequently agreed that Magistrate Judge

Sansone’s assistance would be helpful in determining whether there is a viable path

to resolution of the outstanding issues relating to the Settlement, and jointly request

that the Court refer this matter to Judge Sansone for further discussions. Intervenors

agree with that request and agree to participate in those discussions. The Settling

                                             2
Case 8:13-cv-01592-AEP Document 560 Filed 07/15/24 Page 3 of 5 PageID 17066




Parties ask that the Court allow them to file another Joint Status Report in 28 days to

advise the Court of the status of negotiations.

                           Local Rule 3.01(g) Certification

      The undersigned certifies that, pursuant to L.R. 3.01(g), counsel conferred

with counsel for Defendant BTL and counsel for Intervenors, and all parties agree

to the relief sought.

                                      Conclusion

      For the foregoing reasons, the Settling Parties and Intervenors respectfully

request that the Court (1) refer this matter to Magistrate Judge Sansone for further

discussions and (2) order the Settling Parties to file a Joint Status Report in 28 days.


Dated: July 15, 2024                           Respectfully submitted,

 /s/ Mark S. Mester                            /s/ Glenn L. Hara
 Mark S. Mester, Counsel for                   Glenn L. Hara, Class Counsel
 Defendant Buccaneers Team LLC

 Mark S. Mester (pro hac vice)                 Glenn L. Hara (pro hac vice)
 Robert C. Collins III (pro hac vice)          ANDERSON + WANCA
 LATHAM & WATKINS LLP                          3701 Algonquin Road, Suite 500
 330 North Wabash Avenue, Suite 2800           Rolling Meadows, IL 60008
 Chicago, Illinois 60611                       Telephone: (847) 368-1500
 Telephone: (312) 876-7700                     Facsimile: (847) 368-1501
 Facsimile: (312) 993-9767                     Email: ghara@andersonwanca.com
 E-mail: mark.mester@lw.com
         robert.collins@lw.com




                                           3
Case 8:13-cv-01592-AEP Document 560 Filed 07/15/24 Page 4 of 5 PageID 17067




Joseph H. Varner, III                    Michael C. Addison
(Fla. Bar No. 394904)                    (Fla. Bar. No. 0145579)
HOLLAND & KNIGHT LLP                     ADDISON LAW OFFICE, P.A.
100 North Tampa Street, Suite 4100       1304 Alicia Avenue
Tampa, Florida 33602-3644                Tampa, Florida 33604
Telephone: (813) 227-8500                Telephone: (813) 223-2000
Facsimile: (813) 229-0134                Facsimile: (813) 228-6000
Email: joe.varner@hklaw.com              Email: m@mcalaw.net

                                         Ross M. Good
                                         (Fla. Bar. No. 116405)
                                         THE GOOD LAW GROUP
                                         800 E. Northwest Hwy., Suite 814
                                         Palatine, Illinois 60074
                                         Telephone: (847) 600-9576
                                         Email: ross@thegoodlawgroup.com

                                         and

                                         /s/Phillip A. Bock
                                         Phillip A. Bock (FL Bar #93895))
                                         Robert M. Hatch (pro hac vice)
                                         Jonathan B. Piper (pro hac vice)
                                         BOCK HATCH & OPPENHEIM, LLC
                                         820 W. 41st St. #305
                                         Miami Beach, FL 33140
                                         (305) 465-6501
                                         Counsel for Intervenors




                                     4
Case 8:13-cv-01592-AEP Document 560 Filed 07/15/24 Page 5 of 5 PageID 17068




                            CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2024, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of

such filing to all attorneys of record.


                                          /s/Glenn L. Hara
                                          Glenn L. Hara (admitted pro hac vice)
                                          ANDERSON + WANCA
                                          3701 Algonquin Road, Suite 500
                                          Rolling Meadows, IL 60008
                                          Telephone: (847) 368-1500
                                          Facsimile: (847) 368-1501
                                          Email: ghara@andersonwanca.com




                                            5
